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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


 BENJAMIN PIERCE AND DEBBIE                       :
 PIERCE,                                          : Civil Action No.
                                                  :
                        Plaintiff(s),             :
                                                  :
 v.                                               :
                                                  :
 BJ’S WHOLESALE CLUB, INC. AND                    :
 JOHN DOES I THROUGH XX,                          :
                        Defendants.
                                                  :
                                                  :

                      DEFENDANT BJ’S WHOLESALE CLUB, INC.’S
                              NOTICE OF REMOVAL

        Defendant BJ’s Wholesale Club, Inc. (hereinafter referred to as “BJ’s” or “Defendant”)

files this Notice of Removal pursuant to 28 U.S.C. §1441(a) and (b) to remove this action from the

Superior Court of New Jersey, Law Division, Burlington County, where it is now pending, to the

United States District Court for the District of New Jersey. Defendant, in support thereof, states

as follows:


1.      A Civil Action has been brought against Defendant by the Plaintiffs Benjamin Pierce and

        Debbie Pierce (hereinafter referred to as “Plaintiffs”) and is pending in the Superior Court

        of New Jersey, Law Division, Burlington County, docket number BUR-L-745-22. A copy

        of Plaintiffs’ Complaint is attached hereto as Exhibit “A”.

2.      The State Court wherein this action was originally filed is located in Burlington County,

        New Jersey, which is embraced within this jurisdictional district.

3.      Removal from the Superior Court of New Jersey Law Division, Burlington County is

        proper under 28 U.S.C. §§1441(a) and (b), which authorizes the removal of any civil action




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        of which the District Courts of the United States has original jurisdiction and if “none of

        the parties in interest properly joined and served as a defendant is a citizen of the state in

        which such action is brought.” (emphasis added).

4.      This Court has original jurisdiction over the subject matter under 28 U.S.C. §1332 as the

        parties in interest properly joined and served are citizens of different states, and the matter

        in controversy exceeds $75,000.00 as set forth below.

5.      Specifically, in the alleged accident that is the subject of Plaintiffs’ Complaint, Plaintiff

        Benjamin Pierce claims that on April 8, 2021, as a result of the carelessness and negligence

        of the Defendant, he was caused to sustain serious and permanent injuries, has suffered

        great pain and suffering, for which he claims permanent disability that will in the future

        similarly incapacitate him, and will require future medical treatment and cause future

        economic losses. See Exhibit “A”, First Count, ¶8.

6.      Plaintiff claims that the acts and/or omissions of Defendant BJ’s constituted willful, wanton

        and/or grossly negligent acts or omissions. See Exhibit “A”, First Count, ¶9.

7.      Furthermore, Plaintiff Debbie Pierce is also bringing a loss of consortium claim.

        Specifically, she claims that as a result of the negligence and carelessness of Defendant,

        she has and will in the future be required to provide extraordinary services and care and

        has and will be denied the aid, comfort, companionship, society and consortium with

        Plaintiff Benjamin Pierce. See Exhibit “A”, Fifth Count, ¶3.

8.      Plaintiff also demands judgment against Defendant, for damages, interest, costs of suit, and

        attorney’s fees. See Exhibit “A”, Wherefore Clause.

9.      In order to clarify the amount of damages at issue, Defendant served Plaintiffs with a

        stipulation to limit damages to $75,000, and advised that if this was not signed




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        immediately, Defendant would remove this matter to the Federal Court.                      See

        correspondence from counsel for Defendants to counsel for Plaintiffs, attached as Exhibit

        “B”.

10.      Plaintiffs have failed and refused to sign and return the Stipulation to Limit Damages to

        $75,000.

11.     As such, based on Plaintiffs’ claims that Defendant acted in a willful, wanton and/or

        grossly negligent way to cause Plaintiff Debbie Pierce a loss of consortium and Benjamin

        Pierce permanent disability that will incapacitate him in the future, severe painful bodily

        injuries, great pain and suffering, past and future economic losses as well as a necessity

        for future medical treatment, as well as the fact that Plaintiffs have refused to sign a

        Stipulation limiting Damages to $75,000, it is Defendant’s position that Plaintiffs are

        seeking an amount in excess of $75,000 and this Court does not have to guess as to

        whether this Court’s jurisdictional threshold has been met.

12.     Additionally, removal is proper as the parties are citizens of different states as Plaintiffs

        are citizens of New Jersey and Defendant BJ’s Wholesale Club, Inc., is a Delaware

        corporation with a principal place of business in Massachusetts.

13.     As such, based on the serious and permanent personal injury claims, permanent disability

        claims, future incapacitation claims, significant medical treatment and economic damages

        claims that Plaintiffs claims have resulted from the negligence, carelessness, willful,

        wanted and gross negligence of Defendants, Plaintiff’s Debbie Pierce loss of consortium

        claims, and that Plaintiffs have refused to sign a Stipulation limiting damages to $75,000,

        it is Defendant’s position that Plaintiffs are seeking an amount in excess of $75,000 and




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        this Court does not have to guess as to whether this Court’s jurisdictional threshold has

        been met. See Exhibits “A” - “B”.

14.     This removal is also timely, as this case was filed on or about April 26, 2022, and was

        served or otherwise received by Defendant on or about May 9, 2022. This Notice of

        Removal is being timely filed within 30 days of service or receipt of the Complaint by

        Defendant, and within one year of the filing of the Complaint, pursuant to 28 U.S. Code §

        1446.

15.     Thus, Removal from the Superior Court of New Jersey, Law Division, Burlington County

        is proper under 28 U.S.C. §1441(a) and (b).

16.     This Court has original jurisdiction over the subject matter under 28 U.S.C. §1332 as the

        parties are citizens of different states, and the matter in controversy exceeds $75,000 as

        set forth above. Based on Plaintiffs’ claims for serious and permanent personal injuries,

        future incapacitation and permanent disability as well as significant medical treatment

        and other lost earnings or economic damages, loss of consortium claims, as well as the

        fact that Plaintiffs have refused to sign a Stipulation Limiting Damages to $75,000, it is

        Defendant’s position that Plaintiffs are seeking an amount in excess of $75,000, and this

        Court does not have to guess as to whether Plaintiff is seeking an amount in excess of

        $75,000.

17.     Based on the foregoing, the requirements of 28 U.S.C. §1441(a) and (b), 1446 and 1332

        have been satisfied and the within matter is properly removable.

        WHEREFORE, Defendant BJ’s Wholesale Club, Inc. respectfully requests that the State

Action be removed from the Superior Court of New Jersey, Law Division, Burlington County to

the United States District Court for the District of New Jersey.




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Dated: May 17, 2022                 s/   John M. McConnell
                                         John M. McConnell, Esquire (028152006)
                                         GOLDBERG SEGALLA LLP
                                         301 Carnegie Center Drive,
                                         Suite 200, Princeton, NJ 08540-6587
                                         609-986-1326
                                         609-986-1301 - Fax
                                         Attorneys for Defendant BJ’s Wholesale
                                         Club, Inc.




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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 BENJAMIN PIERCE AND DEBBIE                        :
 PIERCE,                                           : Civil Action No.
                                                   :
                       Plaintiff(s),               :
                                                   :        CERTIFICATE OF SERVICE
 v.                                                :
                                                   :
 BJ’S WHOLESALE CLUB, INC. AND                     :
 JOHN DOES I THROUGH XX,                           :
                        Defendants.
                                                   :
                                                   :
                                                   :


        I, John M. McConnell, hereby certify that a true and correct copy of the foregoing Notice

of Removal, and supporting documents, and Jury Demand were filed with the Court and served on

all counsel of record via email on this 17th day of May 2022.




Dated: May 17, 2022                           s/     John M. McConnell
                                                     John M. McConnell, Esquire (028152006)
                                                     GOLDBERG SEGALLA LLP
                                                     301 Carnegie Center Drive,
                                                     Suite 200, Princeton, NJ 08540-6587
                                                     609-986-1326
                                                     609-986-1301 - Fax
                                                     Attorneys for Defendant BJ’s Wholesale
                                                     Club, Inc.




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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 BENJAMIN PIERCE AND DEBBIE                        :
 PIERCE,                                           : Civil Action No.
                                                   :
                       Plaintiff(s),               :
                                                   :       NOTICE OF APPEARANCE OF
 v.                                                :        JOHN M. MCCONNELL, ESQ.
                                                   :
 BJ’S WHOLESALE CLUB, INC. AND                     :
 JOHN DOES I THROUGH XX,                           :
                       Defendants.
                                                   :
                                                   :
                                                   :


        PLEASE TAKE NOTICE that the undersigned counsel hereby enters an appearance as

counsel of record on behalf of Defendant BJ’s Wholesale Club, Inc. in the above-entitled action.

        PLEASE TAKE FURTHER NOTICE that copies of all papers served in this matter

should be served upon the undersigned.



Dated: May 17, 2022                           s/     John M. McConnell
                                                     John M. McConnell, Esquire (028152006)
                                                     GOLDBERG SEGALLA LLP
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                                                     Suite 200, Princeton, NJ 08540-6587
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                                                     Attorneys for Defendant BJ’s Wholesale
                                                     Club, Inc.




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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 BENJAMIN PIERCE AND DEBBIE                         :
 PIERCE,                                            : Civil Action No.
                                                    :
                       Plaintiff(s),                :
                                                    :   JURY DEMAND ON BEHALF OF BJ’S
 v.                                                 :          WHOLESALE CLUB, INC.
                                                    :
 BJ’S WHOLESALE CLUB, INC. AND                      :
 JOHN DOES I THROUGH XX,                            :
                        Defendants.
                                                    :
                                                    :
                                                    :
                                                    :


        PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 38, the

Defendant BJ’s Wholesale Club, Inc. hereby demands a Jury trial in this matter, on all issues

triable by jury.



Dated: May 17, 2022                            s/     John M. McConnell
                                                      John M. McConnell, Esquire (028152006)
                                                      GOLDBERG SEGALLA LLP
                                                      301 Carnegie Center Drive,
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                                                      609-986-1301 - Fax
                                                      Attorneys for Defendant BJ’s Wholesale
                                                      Club, Inc.




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